                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

 IN RE:                                           §
                                                  §             Case No. 23-51742-cag
 CINCH WIRELINE SERVICES, LLC,                    §
                                                  §                    Chapter 7
           Debtor.                                §

               CINCH ENERGY SERVICES, LLC’S MOTION TO DISQUALIFY
                BUTCH BOYD LAW FIRM, P.C. AND JORDAN & ORTIZ, P.C.
                      AS SPECIAL COUNSEL FOR THE TRUSTEE

         THIS PLEADING REQUESTS RELIEF THAT MAY BE ADVERSE TO
         YOUR INTERESTS.

         IF NO TIMELY RESPONSE IS FILED WITHIN 21 DAYS FROM THE
         DATE OF SERVICE, THE RELIEF REQUESTED HEREIN MAY BE
         GRANTED WITHOUT A HEARING BEING HELD.

         A TIMELY FILED RESPONSE IS NECESSARY FOR A HEARING TO BE
         HELD.

TO THE HONORABLE CRAIG A. GARGOTTA, CHIEF U.S. BANKRUPTCY JUDGE:

         Cinch Energy Services, LLC (“Cinch Energy”), a party-in-interest in the above-referenced

chapter 7 bankruptcy case (the “Bankruptcy Case”) by virtue of holding no less than 70% of the

Debtor’s membership interest, hereby files this Motion to Disqualify Butch Boyd Law Firm, P.C.

and Jordan & Ortiz, P.C. as Special Counsel for the Trustee (the “Motion”), pursuant to 11 U.S.C.

§§ 101, 327, Federal Rule of Bankruptcy Procedure (“Bankruptcy Rules”) 2014(a), and

Bankruptcy Local Rules for the Court (the “Local Rules”) 2014, seeking disqualification of Butch

Boyd Law Firm, P.C. and Jordan & Ortiz, P.C, from representing John Patrick Lowe, in his

capacity as Chapter 7 trustee (the “Trustee”), as special counsel, and would respectfully show the

Court as follows:




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                                 I.     PRELIMINARY STATEMENT

         1.        Prior to the Petition Date (defined below), Cinch Energy owned an equity interest

in Debtor Cinch Wireline Services, LLC (the “Debtor”) of no less than 70% of the Debtor’s

outstanding membership interest. See Statement of Financial Affairs, Dkt. No. 8 at 17. Frank

Thomas Shumate, Jr. (“Shumate”) is a principal of Cinch Energy and, by and through the Debtor,

Shumate provided oil and gas related services throughout Texas. Prior to the Petition Date, Cinch

Energy, Shumate, and the Debtor were involved in state court litigation pending in the District

Court of Nueces County, Texas, 117th Judicial District (the “State Court”) in a case captioned:

Mary Kay McGuffin v. Cinch Energy Services, LLC, et al., Cause No. 2020DCV-3095-B (the

“State Court Litigation”).

         2.        In the State Court Litigation, Mary Kay McGuffin (“McGuffin”) asserts claims

against Cinch Energy, Shumate, the Debtor arising from, among other things, McGuffin’s alleged

equity interest in the Debtor and failure to provide McGuffin with her share of dividends,

distributions, and profits arising from the Debtor’s operations. McGuffin is represented by the

Butch Boyd Law Firm, P.C. (“BBLF”) in the State Court Litigation. In the Bankruptcy Case,

McGuffin has asserted a substantial proof of “claim” against the Debtor in the amount of

$16,500,000.00 arising from the same set of facts presented in the State Court Litigation. Cinch

Energy has objection to McGuffin’s “claim” as really an equity security interest, which is improper

in a Chapter 7 bankruptcy. Jordan & Ortiz, P.C (“J&O”) filed a notice of appearance on

McGuffin’s behalf in the Bankruptcy Case, approximately one month before seeking retention as

special counsel to the Trustee, and J&O remains McGuffin’s counsel of record in the Bankruptcy

Case.

         3.        BBLF’s and J&O’s application for employment as special counsel, which was




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supplemented and subsequently granted without a hearing, failed to disclose the true nature of

McGuffin’s connection and interest in this Bankruptcy Case and only identified McGuffin as a

“creditor” of the Debtor’s bankruptcy estate (the “Estate”). BBLF’s and J&O’s application for

employment as special counsel further failed to disclose that McGuffin, through BBLF as counsel,

was in active litigation against Cinch Energy, Shumate, and the Debtor as of the Petition Date, and

that the litigation had been pending for more than three years prepetition. Because BBLF’s and

J&O’s prior representation is an actual conflict of interest that was not adequately disclosed in

their employment application, Cinch Energy moves to disqualify BBLF and J&O from

representing the Trustee as special counsel.

                                  II.   JURISDICTION AND VENUE

         4.            The United States Bankruptcy Court for the Western District of Texas, San

Antonio Division, has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and to hear and

determine this core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). Venue is proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         5.        The statutory grounds for relief requested herein are §§ 101(14) and 327(a), (e) of

title 11 of the United States Code (the “Bankruptcy Code”), Bankruptcy Rule 2014(a), and Local

Rule 2014.

                                         III.   BACKGROUND

A.       Procedural Background.

         6.        On December 13, 2023 (the “Petition Date”), the Debtor filed a voluntary petition

for relief pursuant to Chapter 7 of the Bankruptcy Code, thereby commencing this Bankruptcy

Case.

         7.        The Trustee was appointed to serve as the Chapter 7 trustee in this Bankruptcy Case




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on December 13, 2023.

         8.        On January 22, 2024, Shelby A. Jordan and Antonio Ortiz, attorneys at J&O, filed

a Notice of Appearance and Request for Notice in the Bankruptcy Case on behalf of McGuffin.

See Dkt. No. 29. J&O has not filed a motion to withdraw and remains counsel of record for

McGuffin in this Bankruptcy Case.

         9.        On February 21, 2024, the Trustee filed his Application for Retention of Butch

Boyd Law Firm, P.C. and Jordan & Ortiz, P.C. as Counsel for the Estate Pursuant to 11 U.S.C. §

327(a) (Dkt. No. 37) (the “Application”) seeking to retain and employ BBLF and J&O as counsel

in this Bankruptcy Case.

         10.       On March 1, 2024, the Trustee filed a Supplement and Clarification of the

Application (Dkt. No. 42) (the “Supplement”) and clarified that the Trustee’s retention of BBLF

and J&O was sought solely for the limited purpose of pursuing “claims and damages against

certain Insiders, Affiliates, and Insiders to Affiliates, of the Debtor.” See Dkt. No. 42, at 2. The

Supplement does not define the term “Insiders” or provide further clarification sufficient to

determine the targets of such investigation, claims, and damages. See id.

         11.       Shareholders for BBLF and J&O submitted declarations in support of BBLF’s and

J&O’s retention but omitted significant details concerning McGuffin’s claims against the estate.

         12.       With respect to McGuffin, BBLF’s declaration states that “BBLF does represent

creditor, Mary Kay McGuffin, who has been fully apprised of the proposed representation of the

Estate by BBLF and she has consented to this representation.” Dkt. No. 42-1, at 2. The declaration

submitted by BBLF omits any reference to McGuffin’s purported equity interest in the Debtor (as

further described below) or BBLF’s fee arrangement with McGuffin and only identifies McGuffin

as a “creditor.” See Dkt. No. 42-1. The declaration submitted by BBLF further states that, other




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than the representation of McGuffin as a creditor, BBLF does not have any conflicts or connections

with the relevant parties in this Bankruptcy case, including the Debtor, creditors, and other parties

in interest. See Dkt. No. 42-1 at 2, ¶ 6. The declaration submitted by BBLF does not disclose any

pending litigation against Cinch Energy, Shumate, or the Debtor in which BBLF represents

McGuffin as the plaintiff, both as of the Petition Date and through today. See Dkt. No. 42-1.

         13.       The declaration in support of J&O’s retention states that “J&O filed a notice of

appearance and request for notice on behalf of creditor, Mary Kay McGuffin but no formal fee

agreement was signed or entered into, and that prior representation was for convenience of the

client. J&O has not been retained by Mary Kay McGuffin and will not be representing her interest

while retained as ‘Special Counsel’ to the Trustee.” Dkt. No. 42-2, at 2. J&O has not filed a

motion to withdraw and remains counsel of record for McGuffin in the Bankruptcy case. The

declaration submitted by J&O does not disclose that its client, McGuffin, is a plaintiff in pending

litigation against Cinch Energy, Shumate, and the Debtor in which J&O’s co-counsel for the

Trustee, BBLF, represents McGuffin, both as of the Petition Date and through today. See Dkt.

No. 42-2.

         14.       On March 26, 2024, the Court entered its Order, without a hearing, approving the

employment and retention of BBLF and J&O as special counsel. See Dkt. No. 57.

         15.       On April 2, 2024, McGuffin filed a Proof of Claim asserting an unsecured claim

against the Debtor in the amount of approximately $16,500,000 for “unpaid distributions.” See

Proof of Claim 51, at 2, a copy of which is attached as Exhibit A.

         16.       On July 17, 2024, Cinch Energy filed an objection to McGuffin’s Proof of Claim

on the basis it’s an alleged equity interest in the debtor, not a claim. See Dkt. No. 139.




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B.       The State Court Litigation.

         17.       On August 25, 2020, McGuffin filed an original petition (the “State Court Petition”)

and initiated the State Court Litigation against the Debtor, Shumate, and Cinch Energy. A copy

of the State Court Petition is attached as Exhibit B. In subsequent amended petitions, McGuffin

expanded the factual background, added new causes of action, and named Patron Wireline, LLC

and Justin Sprencel (“Sprencel”) as defendants in the State Court Litigation.

         18.       On December 11, 2023—two days prior to the Petition Date in this Bankruptcy

Case—McGuffin filed her Third Amended Petition, which included the following causes of action:

Request for Accounting, Request for Temporary Injunction, Declaratory Judgment, and Jury

Demand (the “Third Amended Petition”). A copy of the Third Amended Petition is attached as

Exhibit C.

         19.       The Third Amended Petition alleges that McGuffin entered into an oral agreement

with Shumate that provided McGuffin with a 30% membership interest in the Debtor for her role:




See Exhibit C, at ¶ 21.

         20.       The balance of the Petition asserts claims against the Debtor, Cinch Energy, and

Shumate, among others, stemming from McGuffin’s purported 30% membership interest in the

Debtor and Shumate’s breach of the oral agreement pertaining to McGuffin’s purported ownership



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interest and failure to provide McGuffin with distributions consistent with her ownership interest.

See id. at ¶¶ 33-67.

         21.       In the State Court Litigation, McGuffin’s Third Amended Petition raised, for the

first time, a request for declaratory judgment as to the “rights, status, and other legal relations of

the parties” and requested that the State Court declare the following interests in the Debtor: “(1)

Cinch Energy is no longer a Member of [the Debtor]; (2) [Justin] Sprencel is a Member with a

45%; (3) [Michael] Mendietta is a Member with a 20% interest; and (4) McGuffin is a Member

with a 30% interest.” Id. at ¶ 42.

         22.       At all times during the State Court Litigation, McGuffin was and is represented by

BBLF. See id. at 16; see also Ex. B, State Court Petition at 7.

         23.       As of the date hereof, no suggestion of bankruptcy or other pleading has been filed

in the State Court Litigation indicating the filing of this Bankruptcy Case. BBLF has not moved

to withdraw from the State Court Litigation and remains counsel of record for McGuffin in her

request for a declaratory judgment that she is a 30% owner of the Debtor and entitled to unpaid

distributions and profits of the Debtor.

         24.       In addition, on or about November 30, 2023, Justin Sprencel filed a Certificate of

Amendment with the Texas Secretary of State as “Managing Member and President” of the Debtor,

which purportedly removed Cinch Energy Services, LLC as a member of the Debtor and added

Sprencel, Michael Mendietta (“Mendietta”), and McGuffin as managing members of the Debtor.

A copy of the Certificate of Amendment is attached as Exhibit D. Although Cinch Energy

disputes its effectiveness or legitimacy, the Certificate of Amendment is consistent with

McGuffin’s allegation in ¶ 42 of the Third Amended Petition with respect to McGuffin, Sprencel

and Mendietta being the alleged owners of the Debtor.




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         25.       Also on or about November 30, 2023, and although Cinch Energy disputes its

effectiveness or legitimacy, Sprencel filed a Texas Franchise Tax Public Information Report (the

“2023 PIR Report”) with the Texas Secretary of State as “President” of the Debtor, which again

identifies only Sprencel, Mendietta, and McGuffin as managing members of the Debtor. A copy

of the 2023 PIR Report is attached as Exhibit E.

                                    IV.    RELIEF REQUESTED

         26.       By this Motion, Cinch Energy seeks entry of an Order disqualifying BBLF and

J&O from representing the Trustee as special counsel for the purpose of prosecuting claims for

damages against “Insiders” and “Affiliates” due to BBLF’s and J&O’s (i) failure to accurately and

adequately disclose McGuffin’s true interest in this Bankruptcy Case, (ii) failure to disclose

pending litigation against the Debtor, Cinch Energy, and Shumate relating to a dispute over

ownership interests in the Debtor, (iii) actual conflict of interest in representing both the Trustee

and McGuffin, (iv) lack of disinterestedness, and (v) predisposition under the circumstances that

renders BBLF and J&O biased against the Debtor’s Estate.

                                          V.     ARGUMENT

         27.       As a threshold matter, the Application and Supplement omit significant details

sufficient for this Court to make a determination of BBLF’s and J&O’s disinterestedness and

qualifications under 11 U.S.C. § 327(a), including but not limited to:

               a. that McGuffin alleges she is purportedly entitled to a 30% membership interest in
                  the Debtor and unpaid distributions and profits of the Debtor dating back to 2014;

               b. that BBLF represented McGuffin, as plaintiff, in an equity ownership dispute
                  against the Debtor, Cinch Energy, and Shumate, as defendants, which had been
                  pending for more than three years prior to the Petition Date in this Bankruptcy Case
                  and remains pending through today;

               c. whether McGuffin’s alleged membership interest in the Debtor prohibits BBLF and
                  J&O from providing the Trustee with truly independent, unbiased legal advice;



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               d. whether the term “Insiders,” as used in the Supplement, is to be given the meaning
                  ascribed under 11 U.S.C. § 101(31);

               e. whether BBLF and J&O can truly provide independent advice to the Trustee when
                  BBLF and J&O represent McGuffin, who as a purported equity owner in the Debtor
                  and should be a target of an investigation into “insiders” of the Debtor; and

               f. whether BBLF’s fee arrangement with McGuffin in the State Court Litigation and
                  as special counsel in this Bankruptcy Case entitles BBLF to attorneys’ fees in
                  excess of the amounts disclosed to this Court in the Application and Supplement.

         28.           BBLF’s and J&O’s failure to disclose McGuffin’s alleged equity ownership in the

Debtor is sufficient on its own to justify disqualification.

A.       Standard for Employment of Estate Professionals.

         29.       To be employed as special counsel for the trustee, a law firm must show that it does

“not hold or represent an interest adverse to the estate, and that [it is] disinterested.” 11 U.S.C.

§ 327(a); see In re Age Ref., Inc., 447 B.R. 786, 801 (Bankr. W.D. Tex. 2011) (“As interpreted by

the Fifth Circuit, section 327(a) sets forth a general two-part limiting test: the Trustee may hire

only those professionals who 1) do ‘not hold or represent an interest adverse to the estate,’ and 2)

are ‘disinterested’”) (citations omitted).

         30.       Section 327(c) of the Bankruptcy Code specifies that such professional person is

“not disqualified for employment under this section solely because of such person’s employment

by or representation of a creditor, unless there is objection by another creditor or the United States

trustee, in which case the court shall disapprove such employment if there is an actual conflict of

interest.” 11 U.S.C. § 327(c).

         31.       Section 327(e) permits the trustee to employ for a specified special purpose an

attorney if the “attorney does not represent or hold any interest adverse to the debtor or to the estate

with respect to the matter on which such attorney is to be employed.” 11 U.S.C. § 327(e).




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         32.       Courts in the Fifth Circuit have observed that these standards are strict to ensure

that estate representatives are “free of the slightest personal interest” and that such professionals

possess a “high degree of impartiality and detached judgment.” In re West Delta Oil, 432 F.3d

347, 355 (5th Cir. 2005).

         33.       Several courts interpreting 11 U.S.C. § 327(e), including the Fifth Circuit, have

concluded that the proposed counsel’s “adverse interest is relevant only if that interest relates to

the matter on which the special counsel is employed.” In re Contractor Tech., Ltd., No. 05-3212,

2006 WL 1492250, at *5 (S.D. Tex. May 30, 2006) (citing In re West Delta Oil, 432 F.3d at 356;

In re AroChem Corp., 176 F.3d 610, 628 (2d Cir. 1999)).

         34.       In the Fifth Circuit, the phrase “represent or hold an interest adverse to the debtor

or the estate” is interpreted as follows: “(1) to possess or assert any economic interest that would

tend to lessen the value of the bankruptcy estate or that would create either an actual or potential

dispute in which the estate is a rival claimant; or (2) to possess a predisposition under

circumstances that render such a bias against the estate.” In re Age Ref., Inc., 447 B.R. 786, 802

(Bankr. W.D. Tex. 2011) (citing West Delta Oil, 432 F.3d at 356).

         35.       Courts in the Fifth Circuit have interpreted “adverse interest” by reference to the

applicant’s motivation and by asking “whether the attorney possesses ‘a meaningful incentive to

act contrary to the best interests of the estate and its sundry creditors.’” Id. (citing In re Contractor

Tech., Ltd., 2006 WL 1492250, at *6).

         36.       A “disinterested person” is one that, among other things, “does not have an interest

materially adverse to the interest of the estate or of any class of creditors or equity security holders,

by reason of any direct or indirect relationship to, connection with, or interest in, the debtor, or for

any other reason.” 11 U.S.C. § 101(14)(c).




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         37.       “An actual conflict mandates disqualification of a professional to serve in a

bankruptcy case . . . A potential conflict also provides sufficient grounds for a court to deny a

professional’s employment.” In re Shat, No. BAP.NV-09-1092-MODK, 2009 WL 7809004, at *6

(B.A.P. 9th Cir. Nov. 25, 2009) (citations omitted).

         38.       Motions to disqualify are “governed by the ethical rules announced by the state and

national professions in light of the public interest and rights of the litigants.” In re American

Airlines, 972 F.2d 605, 610 (5th Cir. 1992).

         39.       Rule 1.06 of the Texas Disciplinary Rules of Professional Conduct (“Disciplinary

Rules”) provides, in relevant part, that:

                   (b) In other situations and except to the extent permitted by paragraph (c),
                   a lawyer shall not represent a person if the representation of that person:

                          (1) involves a substantially related matter in which that person's
                          interests are materially and directly adverse to the interests of
                          another client of the lawyer or the lawyer's firm; or

                          (2) reasonably appears to be or become adversely limited by the
                          lawyer's or law firm's responsibilities to another client or to a third
                          person or by the lawyer's or law firm's own interests.

Tex. Disciplinary R. Prof’l Conduct 1.06(b)(1)-(2) (emphasis added).

         40.       The Disciplinary Rules indicate that representation of one client is “directly

adverse” to the representation of another client under Disciplinary Rule 1.06(b)(1) “if the

lawyer’s independent judgment on behalf of a client or the lawyer’s ability or willingness to

consider, recommend or carry out a course of action will be or is reasonably likely to be adversely

affected by the lawyer’s representation of, or responsibilities to, the other client.”              Tex.

Disciplinary R. Prof’l Conduct 1.06, cmt. 6.

         41.       Bankruptcy Rule 2014 governs applications to employ counsel and places the

burden on the applicant to disclose “all of the person’s connections with the debtor, creditors, any



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other party in interest, their respective attorneys and accountants.” Fed. R. Bankr. P. 2014(a).

         42.       One court in the Fifth Circuit has described the Rule 2014 disclosure requirements

as follows:

         [A]ny professional who seeks to employed by a bankruptcy estate assumes an
         affirmative duty to disclose all connections with parties in interest, and to reveal
         any interest which may be antagonistic or opposite to the interest of the estate. . .
         The professional must disclose all facts that bears on its disinterestedness and
         cannot usurp the court’s function by choosing, ipse dixit, which connections
         impact disinterestedness and which do not. The existence of an arguable conflict
         must be disclosed if only to be explained away . . . The professional’s duty to
         disclose is self-policing. The court relies primarily on forthright disclosure to
         determine qualification under section 327. It should not have to rummage
         through files or conduct independent fact-finding investigations to determine if
         the professional is disqualified.

In re C & C Demo, Inc., 273 B.R. 502, 506-07 (Bankr. E.D. Tex. 2001) (emphasis added).

B.       BBLF and J&O Do Not Qualify to Act as Special Counsel under 11 U.S.C. § 327.

         43.       BBLF’s and J&O’s ongoing representation of McGuffin in the State Court

Litigation and/or this Bankruptcy Case raises serious questions about their disinterestedness and

actual or potential representation of adverse interests in this Bankruptcy Case. The Application

and Supplement provide no mention or reference to the existence of the State Court Litigation and

make no mention of BBLF’s role as counsel to McGuffin in that lawsuit, or that the Debtor was a

defendant in that lawsuit. Although the Supplement does identify the representation of McGuffin

by BBLF and J&O, the Supplement fails to disclose facts sufficient to discern McGuffin’s true

interest in these proceedings and her adversity to the Debtor and other equity holders in the State

Court Action. Because the interest of McGuffin and the Trustee may not be aligned, and BBLF

and J&O may be incentivized to act contrary to the best interest of the Estate due to their

relationship with McGuffin, BBLF and J&O should be disqualified from representing the Trustee

as special counsel.




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         i.        BBLF and J&O Are Not Disinterested with Respect to the Matter on Which
                   They Are Employed.

         44.       BBLF and J&O are not disinterested and hold and represent actual adverse interests

or potential adverse interests in this Bankruptcy Case, because the Trustee has employed them for

the special purpose of prosecuting claims for damages against “Insiders” and McGuffin is

purportedly an insider by virtue of her alleged membership interest in the Debtor. See Ex. A, Proof

of Claim 51 at 2; see also Ex. C, Third Amended Petition; see also Ex. D, Certificate of

Amendment.

         45.       Although “Insiders” is not a defined term in the Supplement, the Bankruptcy Code

defines such term to include a “person in control of the debtor.” 11 U.S.C. § 101(31)(B). As an

alleged managing member of the Debtor, McGuffin undoubtedly qualifies as an insider of the

Debtor who should be investigated for causes of action under Chapter 5 of the Bankruptcy Code.

         46.       The Application and Supplement provide no discussion or explanation of how

BBLF and J&O can independently investigate and pursue causes of action for damages against

insiders without bias and simultaneously represent McGuffin. Moreover, BBLF has filed suit on

behalf of McGuffin in the State Court Litigation directly against the Debtor and, as of the date

hereof, that lawsuit is still pending and BBLF has not withdrawn as counsel to McGuffin. 1 In

addition, McGuffin, through BBLF as counsel, has asserted in the Third Amended Petition that

Cinch Energy is no longer a member of the Debtor, and that only McGuffin, Sprencel and

Mendietta are members of the Debtor. Therefore, BBLF’s and J&O’s representation of McGuffin



1
  The Court should take judicial notice of the pleadings filed in the State Court Litigation—without
the need for Cinch Energy to attach them as voluminous exhibits to this Motion—because they are
a matter of public record that are undisputedly authentic. See Fed. R. Evid. 201(b), (c)(2). “Judicial
records are public records.” Binh Hoa Le v. Exeter Fin. Corp., 990 F.3d 410, 416 (5th Cir. 2021).
“Documents in judicial actions and cases’ dockets are public records of which any court can take
judicial notice.” Duncan v. Heinrich, 591 B.R. 652, 655 n.2 (M.D. La. 2018) (collecting cases).


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and their simultaneous representation of the Trustee creates an unwaivable and irreconcilable

conflict of interest, because BBLF’s and J&O’s role as special counsel requires them to investigate

and potentially pursue causes of action against McGuffin. See Tex. Disciplinary R. Prof’l Conduct

1.06, cmt. 6. Thus, McGuffin’s individual interests in the State Court Litigation and the Trustee’s

retention of BBLF and J&O for the purpose of prosecuting insider claims, which purportedly

includes McGuffin, are “materially and directly adverse” to one another. Moreover, BBLF

represents McGuffin in current litigation against the Debtor, Cinch Energy, and Shumate for a

determination as to who is an of the Debtor. Because BBLF’s and J&O’s representation of

McGuffin and their simultaneous representation of the Trustee creates an unwaivable conflict of

interest, BBLF and J&O should be disqualified from representing the Trustee. BBLF’s and J&O’s

prior (and ongoing) representation of McGuffin precludes them from serving as special counsel to

the Trustee for purposes of investigating insider causes of action without bias in favor of their

current client, McGuffin.

         47.       Notably, as part of the Trustee’s adversary proceeding against Cinch Energy and

Shumate, witnesses testified at hearings concerning Mendietta’s and Sprencel’s embezzlement of

the Debtor’s assets and acknowledged that Mendietta and Sprencel defrauded the Debtor in the

approximate amount of $5.6 million. See, e.g., Adv. P. 24-05011, Apr. 25, 2024 Hearing

Transcript, at 249:21-251:2, 252:3-6; 169:24-172-13; Adv. P. 24-05011, Apr. 30, 2024 Hearing

Transcript, at 123:21-134:12, 219:10-221:14. These claims alone, based on sworn testimony

before this Court, are sufficient to satisfy all of Debtor’s unsecured creditors after Cinch Energy’s

objections to claims are granted. However, as of the date hereof, the Trustee has not filed or

prosecuted claims against Mendietta or Sprencel, which suggests the Trustee’s special counsel is

selectively prosecuting an action against Cinch Energy and Shumate and ignoring viable claims




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against the Debtor’s other purported insiders to the prejudice and detriment of the Debtor’s Estate

and its creditors. BBLF and J&O’s prosecution of claims against Cinch Energy and Shumate, to

the exclusion of similar claims against Mendietta and Sprencel, also raises serious questions over

their independence from their representation of McGuffin and her influence over the claims that

are prosecuted for the benefit of the Debtor’s Estate.        In effect, BBLF’s and J&O’s prior

representation of McGuffin predisposes them to be biased against prosecuting causes of action

against her (and potentially other insiders), even though the Application and Supplement charge

BBLF and J&O with investigating such claims.

         ii.       BBLF’s and J&O’s Disclosures Are Inadequate.

         48.       With respect to Rule 2014 disclosures, the Bankruptcy Code “allows the fox to

guard the proverbial hen house,” but counsel who fail to disclose timely and completely their

connections in the case proceed at their own risk. In re Crivello, 134 F.3d 831, 836 (7th Cir. 1998).

BBLF and J&O failed to fully and completely disclose their connection to this Bankruptcy Case.

BBLF failed to disclose its representation of McGuffin in the State Court Litigation or that

McGuffin’s interest in this proceeding is that of a purported 30% equity interest holder in the

Debtor, and that McGuffin was a plaintiff in pending litigation against the Debtor, Cinch Energy,

and Shumate over her alleged equity interest in the Debtor. Similarly, J&O failed to disclose

McGuffin’s interest in this proceeding as that of a purported 30% equity interest holder in the

Debtor, and that McGuffin was a plaintiff in pending litigation against the Debtor, Cinch Energy,

and Shumate over her alleged equity interest in the Debtor. Moreover, J&O’s assertion that it had

no formal agreement to represent McGuffin, and that it only filed a notice of appearance in this

Bankruptcy Case as a matter of convenience, does not undo the creation of an attorney-client

relationship.




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         49.       Under Texas law, an attorney-client relationship may be formed expressly (by

written agreement) or implied by the parties’ conduct. See In re Rosenthal & Watson, P.C., 612

B.R. 507, 544 (Bankr. W.D. Tex. 2020) (citations omitted). “An attorney that enters an appearance

for a party is presumed to be authorized to do so, unless it is conclusively shown that the attorney

was not authorized to appear for the party.” Id. at 543 (citations omitted). Because J&O appeared

in this Bankruptcy Case on behalf of McGuffin and has not withdrawn from representing

McGuffin in this Bankruptcy Case, and J&O has failed to conclusively establish that no attorney-

client relationship was established with McGuffin, J&O is also disqualified for its representation

of an interest directly adverse to the Debtor.

         50.       These omissions prevented the Court from determining BBLF’s and J&O’s

disinterestedness for purposes of prosecuting insider claims and raises serious concerns about

where the firms’ undivided loyalty may lie if claims were uncovered against McGuffin or the other

individuals she alleges are members of the Debtor (i.e., Sprencel and Mendietta). In fact, the

Application and Supplement fail to contemplate that such insider claims against McGuffin may

even exist. Should such a dispute arise, how can BBLF and J&O provide unbiased legal advice to

both the Trustee and McGuffin? The simple answer is that the firms cannot serve two masters.

Because these are matters that touch on the core of the professionals’ special purpose as counsel,

Cinch Energy respectfully requests that this Court enter an order disqualifying BBLF and J&O

from representing the Trustee.

                                      VI.        CONCLUSION

         WHEREFORE, Cinch Energy respectfully requests that the Court: (i) grant this Motion

and enter an order disqualifying BBLF and J&O from representing the Trustee; (ii) withdraw the

Order approving the employment and retention of BBLF and J&O; and (iii) grant such other and




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further relief as the Court deems just.

Dated: July 17, 2024                      Respectfully Submitted,

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                                          -And-

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                                          COUNSEL FOR CINCH
                                          ENERGY SERVICES, LLC




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                               CERTIFICATE OF SERVICE

       I certify that on the 17th day of July 2024, a true and correct copy of the foregoing was
served by the CM-ECF system to all parties registered to receive such notice as reflected on the
attached list.

                                                   /s/ Jameson J. Watts
                                                   Jameson J. Watts




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  A-7 AUSTIN, LLC                                     John F Massouh
  c/o John Massouh                                    Sprouse Shrader Smith P.C.
  SPROUSE SHRADER SMITH                               P.O. Box 15008
  PO Box 15008                                        Suite 500
                                        represented
  Amarillo, TX 79105                                  Amarillo, TX 79101
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                                                      john.massouh@sprouselaw.com
                                                      Assigned: 01/09/24
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  Butch Boyd Law Firm, P.C.
  2905 Sackett Street
  Houston, TX 77098
  713-589-8477
  Added: 03/26/2024
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  146 Motts Parkway                                   James S. Wilkins, PC
  Marion, TX 78124                                    1100 NW Loop 410, Suite 700
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  Tax ID / EIN: XX-XXXXXXX                            San Antonio, TX 78213
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  (Debtor)                                            jwilkins@stic.net
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